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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )                   8:04CR535
                                           )
              v.                           )
                                           )
KEITH C. ELMER,                            )                     ORDER
                                           )
                     Defendants.           )
                                           )


       This matter is before the court on the defendant's Motion to Extend Time to Self-
Surrender (Filing No. 112). After considering the matter, the court will grant the motion.
       IT IS ORDERED that defendant's self-surrender deadline to report to FCI Oxford
is hereby extended to November 7, 2005.
       DATED this 18th day of October, 2005.

                                          BY THE COURT:



                                          s/ Joseph F. Bataillon
                                          JOSEPH F. BATAILLON
                                          United States District Judge
